       Case 2:22-cr-20113-SHL Document 50 Filed 03/03/23 Page 1 of 2                      PageID 92


                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                         Western Division
                                        Office of the Clerk

Wendy R. Oliver, Clerk                                                                       Deputy-in-Charge
242 Federal Building                                                               U. S. Courthouse, Room 262
167 N. Main Street                                                                 111 South Highland Avenue
Memphis, Tennessee 38103                                                             Jackson, Tennessee 38301
(901) 495-1200                                                                                  (731) 421-9200


                                    NOTICE OF RE-SETTING
                  Before Chief Judge Sheryl H. Lipman, United States District Judge


                                               March 3, 2023


            RE:     2:22-cr-20113-SHL
                    USA v. BRIAN SAULSBERRY

            Dear Sir/Madam:

           A JURY TRIAL has been RESET before Chief Judge Sheryl H. Lipman from
     MONDAY, MARCH 27, 2023 at 9:30 A.M. to MONDAY, JULY 10, 2023 at 9:30 A.M. in
     Courtroom No. 1, 11th floor of the Federal Building, Memphis, Tennessee.

            An INTERIM REPORT DATE has been SET before Chief Judge Sheryl H. Lipman
     for THURSDAY, MAY 25, 2023 at 9:00 A.M. in Courtroom No. 1, 11th floor of the Federal
     Building, Memphis, Tennessee.

          PLEASE SEE ATTACHED STANDARD PRETRIAL PROCEDURES FOR
     CRIMINAL CASES.

            As to defendants on bond, failure to appear without leave of court will result in a forfeiture
     of appearance bond and issuance of a warrant for arrest.

            If you have any questions, please contact the case manager at the telephone number or
     email address provided below.

                                           Sincerely,
                                           WENDY R. OLIVER, CLERK
                                           BY: s/Joseph P. Warren,
                                                  Case Manager Supervisor
                                                  901-495-1242
                                                  joseph_warren@tnwd.uscourts.gov
   Case 2:22-cr-20113-SHL Document 50 Filed 03/03/23 Page 2 of 2                    PageID 93



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE

            STANDARD PRETRIAL PROCEDURES FOR CRIMINAL CASES
                       BEFORE JUDGE SHERYL H. LIPMAN
                (unless different deadlines have been imposed in this case)

BY THE CLOSE OF BUSINESS ONE WEEK PRIOR TO TRIAL:
   A. The Parties shall file on the docket:
         1. An agreed set of jury instructions, using the Court’s “shell” instructions as a
             baseline. Visit: https://www.tnwd.uscourts.gov/JudgeLipman/index.juryinst.shtml
         2. Alternative versions of jury instructions on which there is not an
             agreement, with citations and supporting authorities;
         3. An agreed verdict form or alternative versions;
         4. Motions in limine; and
         5. Any stipulations between the parties.

    B. The Parties shall email to Chambers (ECF_Judge_Lipman@tnwd.uscourts.gov):
          1. The names of all potential witnesses (Government only – for jury
              selection); and
          2. The names of all attorneys involved in the trial and anyone else seated
              at counsel table.

ADDITIONAL PROCEDURES:
  A. Motions in Limine:
       1. Responses shall be filed by 4:00 p.m. three (3) business days after the
           motion(s) is filed.

    B. Motions for Continuances:
         1. Any motion for a continuance of the trial shall be supported by an affidavit
             stating the reason(s) for the continuance.
         2. The motion shall include the proposed alternative trial dates and other pretrial
             deadlines consistent with this Order that are agreeable to counsel for all parties.
         3. A speedy trial waiver executed by the Defendant shall also accompany that
             motion.
         4. Failure to comply with these requirements may constitute grounds to
             deny the motion.

    C. Contacting the Court:
          1. The Court’s staff is not authorized to entertain any requests by
              telephone or email for a continuance or an extension of deadlines for
              any reason; and
          2. Such a request is considered only on a motion filed with the Court.
